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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )          Case No. 4:11CR3086
                         Plaintiff,                )
                                                   )
       vs.                                         )          TENTATIVE
                                                   )          FINDINGS
RUBEN CARRILLO CASTELLON,                          )
                                                   )
                         Defendant.                )

       I am in receipt of the revised presentence investigation report and addendum and the
parties’ objections in this case.


       IT IS ORDERED that:


       (1)       The undersigned will consult and follow the Guidelines to the extent permitted
and required by United States v. Booker, 543 U.S. 220(2005) and subsequent cases. See, e.g.,
Gall v. U.S., --- S.Ct. ----, 2007 WL 4292116 (2007). In this regard, the undersigned gives
notice that, unless otherwise ordered, he will (a) give the advisory Guidelines such weight as
they deserve within the context of each individual case and will filter the Guidelines' general
advice through §3553(a)'s list of factors1 ; (b) resolve all factual disputes relevant to sentencing
by the greater weight of the evidence and without the aid of a jury; (c) impose upon the
government the burden of proof on all Guideline-enhancements; (d) impose upon the defendant
the burden of proof on all Guideline-mitigators; (e) depart from the advisory Guidelines, if
appropriate, using pre-Booker departure theory; and (f) in cases where a departure using pre-
Booker departure theory is not warranted, deviate or vary from the Guidelines when there is a
principled reason which justifies a sentence different than that called for by application of the
advisory Guidelines.2


       (2)       The government’s objection regarding lack of role enhancement (filing 71) and
the defendant’s miscellaneous objection (filings 68 and 70) will be resolved at sentencing.



       1
           However, I will no longer give the Guidelines “substantial weight.”
       2
           See note 1.
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       (3)     Except to the extent (if at all) that I have sustained an objection or granted a
motion or reserved an issue for later resolution in the preceding paragraph, the parties are
herewith notified that my tentative findings are that the presentence report is correct in all
respects.


       (4)     If any party wishes to challenge these tentative findings, said party shall, as soon
as possible, but in any event at least five (5) business days before sentencing, file in the court
file and serve upon opposing counsel and the court a motion challenging these tentative
findings, supported by (a) such evidentiary materials as are required (giving due regard to the
requirements of the local rules of practice respecting the submission of evidentiary materials),
(b) a brief as to the law and (c) if an evidentiary hearing is requested, a statement describing
why an evidentiary hearing is necessary and how long such a hearing would take.


       (5)     Absent submission of the information required by the preceding paragraph of this
order, my tentative findings may become final and the presentence report may be adopted and
relied upon by me without more.


       (6)     Unless otherwise ordered, any motion challenging these tentative findings shall
be resolved at sentencing.


       January 24, 2012.

                                                BY THE COURT:
                                                Richard G. Kopf
                                                Senior United States District Judge




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